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                              APPENDIX EXHIBIT 6

     SECOND INTERROGATORY RESPONSES OF INDIANA ELECTION DIVISION
                      CO-DIRECTORS (EXCERPTS)
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                              APPENDIX EXHIBIT 7

            FRANCISCO FOTIA DEPOSITION TRANSCRIPT (EXCERPTS)
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                              In The Matter Of:
                   Judicial Watch, Inc., and True The Vote -v-
              J. Bradley King, Trent Deckard and Connie Lawson




                                    Francisco Fotia
                                     May 28, 2013




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    1        most of the time it's a hyperlink I have to click

    2        on.

    3    Q   Earlier, when you described your responsibility,

    4        you mentioned you were responsible for

    5        maintaining the voter rolls in an accurate

    6        condition in St. Joseph County, correct?

    7    A   Yes.

    8    Q   Does your responsibility extend to maintaining

    9        accurate voter rolls in other counties in
   10        Indiana?

   11    A   I don't believe that's a responsibility.               But

   12        we're on a statewide system, so we use each

   13        other's information and we notify each other.                I

   14        mean, if we've taken somebody from their county,

   15        they get notified.        We can't do that without
   16        notifying them.

   17               So, I suppose the system makes us all

   18        responsible because we also make -- take great

   19        pains to make sure that if we see somebody's

   20        registered in another county and they're moving

   21        in, we take them.        We don't just leave them there

   22        and process a new registration, which the system

   23        would allow.      So, I suppose in that regard we do

   24        all maintain the statewide system.

   25    Q   So, in your case, you mentioned that you use
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    1        the -- the factors you use to decide whether to

    2        do an update or a new registration, correct?

    3    A   Yes.

    4    Q   If another county were being very conservative

    5        about getting those matches, it's possible they

    6        could just enter a new registration without

    7        updating a registration of somebody that had

    8        moved out of St. Joseph's County and into theirs,

    9        correct?
   10    A   I suppose it's possible.

   11    Q   And you wouldn't get a hopper item if they're

   12        just processing a new registration, correct?

   13    A   I don't believe so.        I would -- I'm not familiar

   14        with the algorithm or whatever the system uses to

   15        get that.     But, to my knowledge, I don't believe
   16        so.

   17    Q   My point being, there's some affirmative step you

   18        have to take, a decision the county has to take,

   19        to notify another county of a possible move back

   20        and forth?

   21    A   Yes.    What we do is we look everybody up and then

   22        we'll update the actual record.            We won't process

   23        it as a new one.       We'll actually say, "This

   24        person in Elkhart County moved here, so we're

   25        gonna take their Elkhart County record and update
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     1   Q   So, it would be safe to say you talk to the --

     2   A   Dale, yeah.

     3   Q   -- Republican staff more than the Democrat staff

     4       on the phone?

     5   A   Our office talks to the Republican staff more

     6       than the Democrat staff.          Usually we just talk to

     7       Brad King.

     8   Q   Do you ever get conflicting advice from Brad King

     9       and Trent Deckard?
    10   A   Sometimes I get conflicting advice from Brad King

    11       because he's very good at telling me when Trent

    12       disagrees with him and will say, "Well, I say

    13       this.     Trent says this.       We've left that up to

    14       the county Election Division -- or County

    15       Election board to decide.           So, just want to let
    16       you know we're not in agreement on a particular

    17       issue."

    18              And, in fact, the publications they put out

    19       will say, you know, "This is Brad's answer.                This

    20       is Trent's answer."

    21   Q   And what do you and Terry Coleman do in those

    22       cases?

    23   A   We bring it to the Election Board and ask them to

    24       make a decision.

    25   Q   Who's on the Election Board other than you and
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     1       incarcerated in other counties as well.

     2   Q   How about federal incarcerations?             Do they tell

     3       you about that, too?

     4   A   Last week, I actually got the federal order

     5       remanding somebody to a federal prison.

     6   Q   Who sent you that?

     7   A   I don't know.       I didn't get the envelope.           I was

     8       just -- somebody else in the office had opened

     9       whatever envelope it came in, and I just got the
    10       document.      So, I don't know where it came from.

    11   Q   So, then, in addition to the hopper items that we

    12       already mentioned, the jail, the Secretary of

    13       State, the Election Division, will all send you

    14       paper items for processing as well?

    15   A   Uh-huh.
    16   Q   And then in addition to all of these state

    17       entities or county entities, you'll also get

    18       hopper items from 91 other counties concerning

    19       moves, transfers, for you guys to maintain your

    20       voter rolls accurately; is that right?

    21   A   Yes.    And the FSSA offices get voter registration

    22       applications and turn those in as well.

    23   Q   So, it's 91 counties and about six state offices

    24       that I've counted, does that sound right, that

    25       send you voter roll registration maintenance
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     1       updates?

     2   A   Sure.

     3   Q   So, your ability to keep the voter rolls clean is

     4       largely a function of how well -- how good the

     5       input of information you're getting from these

     6       other offices, correct?

     7   A   It's a function of how often the voters notify

     8       the agencies when they move.

     9   Q   And then a function of how well the agencies and
    10       the counties notify you?

    11   A   I suppose.

    12   Q   So, in your two -- you've been there, in the

    13       election office, since 2011.

    14              In that time, have you ever seen or have you

    15       ever been aware of the state sending St. Joseph
    16       County a notice letter concerning the number of

    17       voter registration removals the county's made?

    18   A   No.

    19   Q   Has the state ever sent a notice letter

    20       concerning the number of voter registration

    21       address transfers the county had made in a given

    22       month?

    23   A   No.

    24   Q   Has the state ever sent a notice letter informing

    25       the county that the number of registered voters
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     1       exceeded 90 percent of the total voting age

     2       population?

     3   A   Not to my knowledge.

     4   Q   Has the state ever sent a notice letter

     5       concerning your NCOA information processing and

     6       SVRS list management in any given month?

     7   A   Not to my knowledge.

     8   Q   Has the state ever sent St. Joseph County a

     9       letter specifically concerning the number of
    10       voter registrations they moved to inactive in any

    11       given month?

    12   A   Not that I'm aware of.

    13   Q   Has anyone in the state ever called you to tell

    14       you your list maintenance efforts have been

    15       inadequate?
    16   A   Not that I'm aware of.

    17   Q   Has anyone in the state ever asked you or anyone

    18       else in the office to file an affidavit about

    19       list maintenance?

    20   A   No.    In fact, I just found out a week ago that

    21       that existed.       It's a VRG-24 form affidavit

    22       involving list maintenance, which was brought to

    23       my attention by my counterpart.             And we both

    24       discussed it and weren't entirely sure what it

    25       was asking us to attest to.           So, we haven't filed
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     1       one yet.     But apparently we're supposed to do one

     2       every January.

     3   Q   So, you just heard about that, huh?

     4   A   Yes.

     5   Q   Your predecessors didn't mention anything to you

     6       about it?

     7   A   No.    To be fair, though, one of our predecessors

     8       was arrested and the other one retired.               So --

     9   Q   And was this related to the petition of fraud
    10       scandal that happened?

    11   A   The arrest was.        The retirement wasn't.

    12   Q   And that petition case, just very briefly, so

    13       obviously that was an unfortunate incident.

    14              What could've been done to prevent it, in

    15       your opinion?
    16                            MR. GARN:      Objection; calls for

    17                      speculation.      And objection;

    18                      irrelevant.

    19   BY MR. FEDELI:

    20   Q   You can answer if you know.

    21   A   I was gonna ask why it was relevant as well.

    22       So --

    23   Q   So, is your testimony that you don't know?

    24   A   My testimony is I'm not gonna answer that

    25       question.      Do we want to discuss his objections?
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     1                            MR. FEDELI:      Counsel, would

     2                      you --

     3                            MR. HERBSTER:       You can answer his

     4                      questions.     He hasn't asked for any

     5                      privileged information.         We just put

     6                      objections on the record that we

     7                      object to the question.

     8                            So, I mean, you can object to the

     9                      best of your -- you can answer to the
    10                      best of your ability.

    11   A   Okay.     Can you repeat the question then?

    12   BY MR. FEDELI:

    13   Q   What could've been done to prevent the petition

    14       of fraud better in the future?

    15   A   Hiring people who are honest.
    16   Q   And anything relating to the maintenance of

    17       accurate voter rolls, would that have helped?

    18   A   The petition case had to do with people forging

    19       people's signatures.         I don't know that that has

    20       anything to do with whether or not there were

    21       inflated rolls.

    22   Q   Do you ever interact with citizens of St. Joseph

    23       County concerning election administration, list

    24       maintenance, and the like?

    25   A   We're a public office, and we have a very large
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     1       counter that people walk up to all the time and

     2       ask questions.

     3   Q   So, you have personally interacted?

     4   A   Yes.

     5   Q   Anyone ever express concerns to you about the

     6       accuracy of the voter list, voter registration

     7       list, in St. Joseph County?

     8   A   As far as just members of the public?

     9   Q   Yeah.
    10   A   Yes.

    11   Q   What did they say?

    12   A   People, especially poll workers who see a lot of

    13       deceased people on the rolls -- and the problem

    14       with that is when -- back 40 years ago when

    15       people registered to vote, we didn't ask for
    16       Social Security numbers.          We didn't ask for

    17       birthdates.      We just asked, you know, what year

    18       were you born, are you over 21, or are you over

    19       18 when that law changed.           And, so, when people

    20       die, we have no unique identifier for them.

    21              So, a lot of times the birthday will be

    22       wrong in the system because they were just given

    23       a generic 1-1 of whatever year they said they

    24       were born in because we didn't know.              We won't

    25       have a Social or sometimes women, older women,
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     1       understand my question?

     2   A   I don't.

     3   Q   Okay.     So, in terms of the amount of work it

     4       takes you guys to maintain accurate voter rolls,

     5       does it take -- does it take more work if the

     6       voter rolls are very populated with the names --

     7       you know, have a lot of inaccurate names on them?

     8                              (Attorney Jamie Woods re-joined

     9                              the deposition at this time.)
    10   A   I guess that would depend on the function we were

    11       doing.     We deal with every -- every voter on an

    12       individual basis.        So, if --

    13   BY MR. FEDELI:

    14   Q   Let me rephrase the question.

    15   A   If, you know, the person's registered in three
    16       different spots, but -- we would just be able to

    17       merge those.       I don't know that it takes that

    18       much extra work.

    19   Q   So, if nobody had done any maintenance on the

    20       list in, you know, five years and you came in and

    21       your job was to clean it all up, that would be

    22       more work than if everybody had been maintaining

    23       it for five years, correct?

    24   A   I suppose.      But I guess I want some clarification

    25       on what you mean by maintenance because I think
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     1       you're lumping a lot of -- like every function

     2       our office does as maintenance.

     3              So, if the implication is that if for

     4       five years everybody registered every

     5       registration as a new registration and never

     6       looked to see if they were registered anywhere

     7       else, then they wouldn't be doing their job.                 So,

     8       I think that's different than the type of

     9       maintenance that would be triggered from doing,
    10       say, a mailing.

    11   Q   Okay.     So, when I ask, I'm asking about the

    12       removal of deceased people --

    13   A   Uh-huh.

    14   Q   -- and the removal of people who have moved out

    15       of the county in a process by whatever method
    16       that is available to you.

    17              So, just limiting it to those, if nobody had

    18       done any maintenance on the county voter rolls in

    19       five years, that would be creating more work for

    20       whoever needed to come in and then perform that

    21       maintenance, correct?

    22   A   I suppose.      I don't know that it would -- I mean,

    23       if there's, you know, 10,000 people we have to

    24       cancel now, then --

    25   Q   That would be more work?
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     1   A   It would be the same amount of work done at a

     2       different time.

     3                             MR. FEDELI:     All right.      I think

     4                      I'd like to end my Direct at that

     5                      point and turn it over to you.            But

     6                      I'll likely do some Redirect after

     7                      you're done.

     8                             MR. GARN:     Do you want a break?

     9                             THE WITNESS:      I'm good.     Thank
    10                      you.

    11                             MR. GARN:     I'll keep this short.

    12                          CROSS-EXAMINATION

    13   BY MR. GARN:

    14   Q   Again, my name's Jeff Garn.           I'm from the Office

    15       of the Attorney General on behalf of the Election
    16       Division.

    17              You mentioned some of your duties, including

    18       registration.       Can you just expand on that a

    19       little bit?

    20              What personally do you do with registration

    21       of voters?

    22   A   I -- I also take -- and I apologize.              I should've

    23       mentioned this earlier.          I also take the

    24       incomplete registrations.           So, if a person

    25       registers to vote on a paper, or handwritten one,
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                               APPENDIX EXHIBIT 8

              SARAH REDMAN DEPOSITION TRANSCRIPT (EXCERPTS)
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                                 In The Matter Of:
                             Judicial Watch, Inc., et al. v.
                                J. Bradley King, et al.




                                     Sarah Redman
                                     May 20, 2013




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     1          because their name might be Junior or Senior.          So,

     2          with that, we would know the date of birth, it's

     3          very important.     If not, we check with our local

     4          department, because a lot of times you get the

     5          stuff from the State.       Not everybody passes away

     6          in Warrick County.      We check with our local Health

     7          Department and try to find some more guaranteed
     8          information.

     9      Q   So based on the confidence factor, you might, in
    10          other words, spend some time researching?
    11      A   Absolutely, yes.

    12      Q   Now, is there a hard and fast rule for various
    13          confidence factors that either the State sets or
    14          is it something that you set by policy?

    15      A   By policy in our office.       I'm not comfortable just
    16          canceling somebody if we're not certain --

    17      Q   Right.

    18      A   -- because, of course, that's going to cause some

    19          problems.

    20      Q   Right.

    21      A   So that's why we started taking a more aggressive

    22          approach to finding out for sure.
    23      Q   Okay.    And when you say "certain," would you mean

    24          confidence factor of 100 percent?

    25      A   No.   No, not 100 percent.      I think about 75.     It
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     1      Q   -- word that the 65 percent match turned up,

     2          somebody's still registered in Warrick, it would

     3          be their decision to send it to your hopper?

     4      A   We had three this morning.       Yes.

     5      Q   Come from other counties?

     6      A   Uh-huh, transfers.

     7      Q   Is that a typical day?
     8      A   Yeah, some days.     Some days not.

     9      Q   And then -- but then, again, the other counties,
    10          they would make the judgment of 65 percent,
    11          50 percent confidence factor, 90 percent, what

    12          have you, before notifying you of a potential
    13          match; is that right?
    14      A   I do believe so.

    15      Q   It's really pretty much up to each individual
    16          county to use their judgment?

    17      A   Yes.

    18      Q   Let's flip ahead to the next section of this

    19          excerpt, BMV Registrations in SVRS.         Then I have

    20          one except from this chapter on the next page, and

    21          just I'd like to call your attention to the

    22          second -- or Part 4, Number 3, "General Guidance
    23          on Processing BMV Hopper Items."

    24      A   Uh-huh.

    25      Q   And it says, "Details regarding the formula that
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     1          lot.    It's easier.    Information tends to match a

     2          little better.     The difficulties really lie in the

     3          new registrations and name changes and so forth.

     4                  (Exhibit 4 was marked for identification.)

     5      Q   Exhibit 4, this is the Indiana Voter Registration

     6          Guidebook, excerpts.      Ms. Redman, have you seen

     7          this document before?
     8      A   Yes, I have.

     9      Q   Okay.    If you could, turn to -- this is an
    10          excerpt, again, so Page 21, which is just a few
    11          pages in, Section J, "Updates to an Existing Voter

    12          Registration Record."       A couple of paragraphs down
    13          starts with, "The Co-Directors have encountered a
    14          disagreement regarding whether what action, if

    15          any, must be taken by the county," et cetera.
    16          Have you encountered this issue before?

    17      A   A known insufficient address, yes.

    18      Q   Okay.

    19      A   Uh-huh.

    20      Q   And are you familiar with the Co-Directors'

    21          disagreements on this issue?

    22      A   A little bit, yeah.
    23      Q   Which Co-Director do you agree with on this?

    24      A   Do you mind if I read these again, so I --

    25      Q   Please.    Yeah.
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     1      A   Okay.   Thank you.    Sorry.    I'm re-reading

     2          Mr. Deckard's again.

     3                    MR. GARN:   Just while we're waiting, I'm

     4          just going to briefly object to the extent that

     5          you're calling for a legal conclusion.

     6      A   Okay.

     7      Q   So if it was your policy and it is your policy to
     8          set this for the county, which advice would you

     9          follow?
    10      A   I guess I would lean towards -- it's kind of
    11          overwhelming reading their interpretations of it.

    12          But if somebody is registering for a new
    13          registration and we immediately -- we input them
    14          in the system, we send an acknowledgment card

    15          directly to the address that they say that they
    16          live at and it comes back as a bad address, and

    17          then my policy is to then send out the NCOA

    18          notice.

    19      Q   So would you say that's more in line with --

    20      A   I think that would be more in line with

    21          Mr. King's, I think, so --

    22      Q   Okay.
    23      A   Yeah, if I had to pick one.

    24      Q   Flip to the next page for me, "Sample Jury

    25          Questionnaire."     Have you ever seen this before?
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                                 TAKEN ON MAY 20, 2013

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     1          address and they give their previous address,

     2          which was in Warrick, and then they ask do you

     3          want us to take you off the voter list, and they

     4          say no, that information will still go into SVRS?

     5      A   I do not know.     That's not my area.

     6      Q   Okay.   How about the Indiana Department of

     7          Revenue, do they ever put information in the
     8          hopper?

     9      A   Not to my -- not to my knowledge.
    10      Q   You never had any dealings with them?
    11      A   No, not on this -- in regards to this I have not.

    12      Q   How about the Warrick County revenue office,
    13          taxation, anything --
    14      A   No.

    15      Q   -- from them?     How about the United States
    16          Attorney for the Southern District of Indiana?

    17      A   Not to my knowledge.

    18      Q   You never had any dealings with them with your

    19          office?

    20      A   For -- regarding elections?

    21      Q   Regarding convictions for felonies.

    22      A   Not -- I have not.
    23      Q   So recapping, so the Department of Health, the

    24          Department of Corrections, the Election Division,

    25          the Bureau of Motor Vehicles, and the other 91
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     1          counties in Indiana, all of these entities may

     2          send you hopper items; is that right?

     3      A   Yes.

     4      Q   And to a pretty good extent, it would seem, you're

     5          reliant on them sending you hopper items to keep

     6          your voter rolls clean?

     7      A   Yes.
     8      Q   So, in Warrick County, you're the final authority

     9          on whether to remove a voter, correct?
    10      A   Technically.
    11      Q   And it also seems that you're, kind of, the last

    12          link in a chain of people who need to all do their
    13          jobs in order to remove voters from the rolls;
    14          would that be fair to say?

    15      A   I don't know that that would be fair to say, that
    16          I'm the last link in the chain, but ultimately, I

    17          have to take responsibility, yes.

    18      Q   You're one link in the chain?

    19      A   Yes.

    20      Q   Certainly there's many --

    21      A   There's many departments that need to work

    22          together.
    23      Q   Many entities, okay.      So if they're not all

    24          working together and not all doing their jobs,

    25          it's pretty hard for you to do your job; is that
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     1          right?

     2      A   Uh-huh, yes.

     3                    MR. FEDELI:    Counsel, do you want to take

     4          a quick break?

     5                    MR. LONG:    Sure.

     6                    MR. FEDELI:    Off the record.

     7                  (A brief recess was taken.)
     8      BY MR. FEDELI

     9      Q   I want to talk a little bit about your
    10          interactions with the State of Indiana concerning
    11          list maintenance in your county.            Has the State

    12          ever asked you to submit a report concerning, you
    13          know, execution of list maintenance on your voter
    14          rolls?

    15      A   What do you mean "report"?
    16      Q   Any kind of a plan or document submitted to them

    17          concerning your efforts to maintain voter roll.

    18      A   Well, there was a lot of verbal back and forth and

    19          a lot of interest in how my process went and

    20          quite -- I mean, we spent a lot of time talking on

    21          the phone.

    22      Q   When was this?
    23      A   I basically asked them to hold my hand as I got

    24          through it.     This was last year --

    25      Q   Okay.
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                              DEPOSITION OF SARAH REDMAN
                                 TAKEN ON MAY 20, 2013

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     1      Q   Yeah.   Right.    So, this is --

     2      A   And we've had reminders, E-mails.

     3      Q   Okay.   Now, were most of these communications or

     4          were all of them -- were they sent out to all of

     5          the clerks in the State or were they -- any

     6          specifically sent to you?

     7      A   I would not know who.      They were addressed to
     8          clerks, so I would assume that they were to all

     9          clerks but...
    10      Q   So you never got a phone call from the State that
    11          was specifically to you saying, Ms. Redman, let's

    12          talk about your voter list maintenance, anything
    13          like that?
    14      A   No, I did talk to the -- and I don't remember

    15          which members of the Election Division.         I've
    16          talked to them about them at conferences about

    17          just my different options.       Because since I took

    18          office the first year in 2009, it really wasn't on

    19          my radar.

    20      Q   Okay.

    21      A   I was learning a lot that year.        And in 2010, when

    22          I began to get a good feel for the elections and
    23          processes is when we started asking a lot of

    24          questions about it.

    25      Q   So these communications happened during
Case 1:12-cv-00800-WTL-TAB Document 69-2 Filed 10/11/13 Page 30 of 51 PageID #: 541
                               DEPOSITION OF SARAH REDMAN
                                  TAKEN ON MAY 20, 2013

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     1          couldn't understand how that could be.

     2      Q   Okay.    So it seems like most of the

     3          communications -- tell me if I'm wrong -- was

     4          initiated by you on this subject with the State.

     5          Would that be fair to say?

     6      A   Not initially.     Initially it was from memos that I

     7          received that even gave me any inclination that
     8          that was, you know, one of my duties, because, as

     9          I said, before I -- you know, you're learning as
    10          you come in.     I didn't come in from the office, I
    11          didn't work there prior, so everything was new to

    12          me.    So, as I saw the memos and the information
    13          that they put out through the State on it, that's
    14          when I began to ask a lot more questions.

    15      Q   Okay.    And these were, as you mentioned, memos
    16          that were addressed to, you know, Circuit Court

    17          Clerks, various counties, State of Indiana, as

    18          opposed to, Ms. Redman, that kind of thing?

    19      A   Yes.    I don't -- I don't recall.          I --

    20      Q   You don't recall a letter?

    21      A   I don't recall if there was one specifically to me

    22          or not.
    23      Q   You don't recall a letter to you, specifically, to

    24          you, Dear Ms. Redman, we need to talk about

    25          Warrick County's voter registration rolls?
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                              DEPOSITION OF SARAH REDMAN
                                 TAKEN ON MAY 20, 2013

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     1      A   I don't recall that.

     2      Q   Any phone call along those lines?

     3      A   Well, yeah, there was discussions about that, what

     4          I needed to do to make sure that I completed the

     5          voter list maintenance.

     6      Q   So when was the first phone call like that you got

     7          from the State in your four years?
     8      A   Honestly, I -- it's been about -- when I was

     9          talking to them at conferences, they would follow
    10          up with me and call me, so I would say
    11          December 2011 --

    12      Q   Okay.
    13      A   -- would probably be the first initiated phone
    14          calls.

    15      Q   Something along the lines of let's talk about
    16          voter list maintenance?

    17      A   Yeah.

    18      Q   Okay.

    19      A   It's very difficult to remember these timelines.

    20      Q   Understood.

    21      A   Okay.

    22                   MR. FEDELI:     I would like to reserve some
    23          chance for questioning after you're done, but

    24          pending that, you can go ahead and start, if you'd

    25          like.
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                              DEPOSITION OF SARAH REDMAN
                                 TAKEN ON MAY 20, 2013

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     1      Q   As far as earlier, you were asked about how it

     2          looks like there's a conflict between the

     3          Co-Directors.     Do you think that's helpful to have

     4          the two views?

     5      A   No.

     6      Q   No?   You don't?

     7      A   No.   I hate that.    I do.    There's been several
     8          things I've gone to -- I know there's a Republican

     9          side and there's a Democrat side, whatever.          I
    10          just want the same answer.       That's my opinion on
    11          that.

    12      Q   Okay.
    13      A   I think it should all be nice and black and white
    14          there.    But again, I know it's the real world as

    15          well.    Everybody has got opinions about how things
    16          should be.

    17      Q   And why do you want it in black and white?

    18      A   So that I know exactly how I'm supposed to handle

    19          something and it's not left to interpret, which

    20          much the law in our society is up to

    21          interpretation.

    22      Q   You were asked also about the new bill.         Do you
    23          think -- and you mentioned the statewide mailing,

    24          that you were kind of not happy to hear about

    25          that.    And why was that again?
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                               APPENDIX EXHIBIT 9

           TERRENCE COLEMAN DEPOSITION TRANSCRIPT (EXCERPTS)
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                               In The Matter Of:
                    Judicial Watch, Inc., and True The Vote -v-
               J. Bradley King, Trent Deckard and Connie Lawson




                                   Terrence Coleman
                                     May 28, 2013




                              Midwest Reporting, Inc.
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                             South Bend, Indiana 46613
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                                   Original File coleman terrence.txt
                              Min-U-Script® with Word Index
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     1       about working with colleges to keep track of

     2       registrants who move out of state or out of

     3       county following completion of their college

     4       enrollment?

     5   A   No.    I don't recall anyone talking to me about

     6       that.

     7   Q   So, you mentioned when you found out St. Joseph

     8       County was over 90 percent of -- you know, it had

     9       a relatively high voter registration percentage,
    10       this was something that you found out on your own

    11       or you heard about or what was the exact

    12       circumstances?

    13   A   Well, I found out on my own.            I put together a

    14       spreadsheet of the 18 largest counties in

    15       Indiana.     And, you know, I have -- I don't have
    16       it with me, but I have a spreadsheet that

    17       shows -- you know, I used what I thought were the

    18       most current population figures for the age group

    19       18 and over and got all the contemporary

    20       registration figures for whatever the population

    21       figures were.

    22              And there's -- there's only -- I mean, we

    23       weren't alone.       And there was lots of counties

    24       that were --

    25   Q   Who did you tell about this?
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     1   A   Anybody that would -- anybody that would listen.

     2   Q   Did you talk to Frank about it?

     3   A   Yes.

     4   Q   And what did -- what was the nature of that

     5       conversation?

     6   A   Oh, I don't know.        I mean, I don't remember a

     7       specific conversation.          I mean, we talk

     8       frequently.      I mean, I just -- I think I've --

     9       I've just -- with anybody that -- I would share
    10       this with anybody who would want to hear about

    11       it.

    12   Q   Did you tell the state?

    13   A   Well, I did when I -- you know, I talked to

    14       Leslie Barnes about, you know, the amount of

    15       voters that we had.         I mentioned it to Michelle
    16       Brzycki when we were down there in Indianapolis.

    17   Q   This was in the context of the conversations you

    18       told me about --

    19   A   Correct.

    20   Q   -- earlier?

    21   A   Correct.     I mean, forgive me.         But I didn't -- I

    22       didn't think it was any secret.             I didn't think I

    23       was the -- the sole possessor of this knowledge.

    24       I --

    25   Q   Nobody from the state ever contacted you first
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     1       about, you know, "Hey, your county has a lot of

     2       people registered, perhaps more than it should."?

     3   A   No one's ever said that to me.

     4   Q   And no one ever called you or sent you a letter

     5       concerning the way you're processing out-of-state

     6       transfers or deaths?

     7                            MR. WOODS:      Can we clarify?       No

     8                      one from the State of Indiana?

     9                            MR. FEDELI:      State Election
    10                      Division.

    11   A   Not to my knowledge.

    12   BY MR. FEDELI:

    13   Q   And since you've been with the division, no one

    14       from the state has ever called you to ask how

    15       your list maintenance procedures were going?
    16   A   No, not to my knowledge.          No one's done that.

    17   Q   Now, we talked about transfers that are based on

    18       processing by other counties.            In other words,

    19       when they get a new voter registration, you know,

    20       they can decide whether to send you a transfer,

    21       in essence, based on potential matches that SVRS

    22       finds.

    23              My understanding is that the county official

    24       who's processing the new registration has to look

    25       at the data, determine if there's a match, and
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                                                                                      65

     1       registered where they're supposed to be and are

     2       they voting in the proper election?

     3   Q   And that would affect whether they're voting for

     4       the proper candidates?

     5   A   Correct.     I mean, you know -- I mean, if you have

     6       a ton of folks not in the right district, you

     7       have a ton of folks who could have influence on

     8       an election they're not supposed to have

     9       influence on.
    10   Q   Do you ever interact with, you know, citizens of

    11       St. Joseph County about voter registration and

    12       voter list maintenance issues?

    13   A   Probably not as much -- no.           I mean, not a lot.

    14       The common citizen doesn't really -- isn't aware

    15       of all the -- all the stuff we've been talking
    16       about today.

    17   Q   Anyone ever express any concern to you about, you

    18       know, the number of dead people on the rolls,

    19       that kind of thing?

    20   A   You know, I've had some people -- like I

    21       described to you earlier, I had some -- some

    22       citizens on the phone who were, you know, getting

    23       mail for folks that hadn't lived at their house

    24       in a long, long time.         So, that counts.        I mean,

    25       they were -- they were pretty irate and concerned
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     1       about how it was that these folks were still

     2       registered to vote at their address.

     3   Q   Why were they concerned, if they explained to

     4       you?

     5   A   Well, they were concerned because they hadn't

     6       lived there in whatever it was; 15, 16 years.

     7       And they said, "Well, gee --" their feeling was

     8       it was wide open for some kind of fraud.

     9              And that's another thing we didn't touch on
    10       is -- I mean, we all know this because we're all

    11       involved in some degree to politics, is politics

    12       is perception.       And, you know, being one who has

    13       come into a difficult situation in an office

    14       that's been tarnished, that's been out in the

    15       public, how we're perceived is important.
    16              So, we need -- we need to be efficient so

    17       that we will be perceived as being trustworthy,

    18       that we have integrity, that we're doing our

    19       jobs, that we're doing our job.             A public's not

    20       gonna understand -- a public's not gonna

    21       understand why we have 50,000 extra voters on our

    22       rolls.     They're not gonna understand that.             Alls

    23       they're gonna know is, gee, aren't you doing your

    24       job?

    25              So, I think it's equally important -- you
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     1       know, you might call it superficial.              But, you

     2       know, it's still important.           I mean, we're in the

     3       business of government and -- and, you know, I

     4       can say this because I've been involved in

     5       government, is one of its shortcomings is

     6       maintaining the public's trust.

     7              Well, let's -- we want to do that.             We want

     8       to be able to say to the public, "We got 150 --"

     9       you know, whatever the figure is.             "We got
    10       150,000 registered voters in St. Joe County, and

    11       that number's pretty darn accurate," as opposed

    12       to today, "How many voters you got?"

    13              "Well, we got 200,000."

    14              "How many adult population folks do you

    15       have?"
    16              "200,000."

    17   Q   So, it's a way of letting people know that you're

    18       actually keeping track of these elections?

    19   A   Yeah, and we're doing -- and that there -- that

    20       there is integrity and that there is fairness and

    21       there's accuracy in -- in -- in the election

    22       process.     And if you don't -- if you don't have

    23       that, then people's trust is gonna be diminished.

    24   Q   You've put a lot of effort into the dead voter

    25       removal process in the past six months or so,
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     1   A   If I had a hundred thousand dollars, I would've.

     2       I would've been encouraged to do it.              We made

     3       every effort to get our hands around the issue.

     4       I -- I -- as I told you, I spoke with Leslie

     5       Barnes on the phone about -- not only to get a

     6       complete understanding of what was required, this

     7       was prior to the July meeting, but also not

     8       any -- not any help on how to get a hundred

     9       thousand dollars.
    10              And we asked specifically about would our

    11       county have the ability to get the list from the

    12       post office, which seemed to be -- at least my

    13       understanding at that moment, seemed to be a more

    14       efficient way of going about undertaking the

    15       process by which to inactivate voters.
    16              You know, I must say this.           And I know you

    17       didn't ask.      But it was very obvious to me during

    18       the presentation of the voter list maintenance

    19       program at that July conference that most of the

    20       folks in the room had no idea this was the way to

    21       do it.     And it was very clear to me that there

    22       was not a universal understanding of how to go

    23       about that.

    24              There were people in the room who believe

    25       that if you hadn't voted in two election cycles
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     1       that that automatically was reason to cancel you

     2       from voting.

     3   Q   Did they -- did anyone disabuse -- did anyone

     4       from the state disabuse those people of that

     5       notion that --

     6   A   I'm not familiar with that.           Sorry.

     7   Q   Sorry.     Did anyone make it clear that that was

     8       not allowed?

     9   A   Oh, yeah.      They made it clear.        Well, actually,
    10       let me -- let me -- let me pull back and say they

    11       made an effort.        Now, how clear they were, I -- I

    12       don't know.

    13   Q   I'm sorry.      Just so we're clear on who we're

    14       talking about, so who was in attendance at this

    15       meeting?
    16   A   Clerks and voter registration people from all

    17       across the State of Indiana.

    18   Q   So --

    19   A   And they -- when this -- this was the liveliest

    20       discussion of the whole conference, of the -- of

    21       the two -- of the two-day conference that we were

    22       there.     You know, it was just one of those things

    23       that you just did it and all of sudden the room

    24       came alive.

    25              And it was obvious to me that not everybody
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                                                                                  114

     1   A   We have different hoppers.

     2   Q   How many hoppers do you have?

     3   A   Well, you have the -- (Cell phone interruption.)

     4              I just want to make sure it's not a family

     5       emergency.

     6   Q   Sure.

     7   A   Nope.     The different hoppers.         Okay.    DOC hopper,

     8       DOH hopper, BMV hopper, online registration

     9       hopper, OVR.       There's got to be more.         Transfer
    10       hopper.     Five?    You gotta help.

    11                            MR. WOODS:      It's your deposition.

    12   A   That's all I can think of right now.

    13   BY MR. FEDELI:

    14   Q   So, the DOC, the DOH, and the transfer hopper,

    15       those mostly involve items for your attention,
    16       voters that need to be removed, correct?

    17   A   Yes.

    18   Q   And the BMV and the online registration, those

    19       mostly involve voters that need to be added?

    20   A   Correct.

    21   Q   Of all those government entities we talked about,

    22       Election Division, county jails, you know,

    23       Department of Corrections, Department of Health,

    24       and it seems like you're fairly reliant on other

    25       entities and other counties letting you know when
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     1       you need to remove registrations on a daily basis

     2       through your hopper, in other words, if they're

     3       not entering that information, sending it to

     4       Quest, doing what have you, in most cases you

     5       won't get notified of that; is that right?

     6   A   I think that is a fair assessment.

     7                            MR. FEDELI:      I think I'm done.

     8                      Do you have any other questions?

     9                            MR. GARN:      No.
    10                            MR. WOODS:      We will review and

    11                      sign.

    12                              (Deposition concluded and

    13                              witness excused at 3:55 p.m.)

    14                                  * * *

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                              APPENDIX EXHIBIT 10

       FIRST INTERROGATORY RESPONSES OF INDIANA ELECTION DIVISION
                        CO-DIRECTORS (EXCERPTS)
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

   JUDICIAL WATCH, INC.,                           )
   and TRUE THE VOTE,                              )
                                                   )
                            Plaint!ffs,            )       CaseNo.l:12-cv-800-WTL-TAB
          v.                                       )
                                                   )
   J. BRADLEY KING, et al.                         )
                                                   )
                            Defendants.            )


        DEFENDANTS TRENT DECKARD AND J. BRADLEY KING'S ANSWERS TO
                PLAINTIFFS' FIRST SET OF INTERROGATORIES

           Defendants Trent Deckard and J. Bradley King, Co-Directors ofthe Indiana Election

   Division, by counsel, pursuant to Rule 33 of the Federal Rules of Civil Procedure, respond to

   Plaintiffs' First Set of Interrogatories, as follows:

                                          GENERAL STATEMENT

           By responding to these Interrogatories, Defendants do not waive their right to object to

   the use of the following responses at any time, on any ground, in this or any other proceeding.

   Further, Defendants have not completed preparation for trial. Thus, these responses are limited

   to the information known to Defendants at this time and do not constitute a waiver of

   Defendants' right to introduce additional evidence at trial. Defendants reserve the right to

   supplement or amend these responses in the event further information is obtained and to

   supplement or amend these responses based on information that may be obtained during the

   pendency of this case.




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    county voter registration official from various sources (the family of a voter who has moved
    away or information from a College or University, for example).

    Indiana registration fom1s provide a space where an individual can provide their prior address
    and the forms contain the following statement to be signed by the registration applicant: "I
    authorize my voter registration at any other address to be cancelled."

    In addition, see answer to Interrogatory No. 3 which is incorporated herein by reference in
    response to his Interrogatory.


    INTERROGATORY NO.5: Describe all efforts you have made to obtain the computerized

    statewide voter registration lists of other U.S. states, including but not limited to the states of

    Ohio, Illinois, Kentucky, and Michigan, for the purposes of updating the Indiana computerized

    statewide voter registration to remove registrations of individuals who have moved out-of-state,

    and identifY all states with which you have made such collaborative efforts.

    RESPONSE NO. 5:

    Defendants object to this interrogatory for the reason it seeks information protected from
    disclosure by the deliberative process privilege, the attorney/client privilege, and attorney work
    product doctrine. Defendants object to this interrogatory because it seeks information which
    might disclose the mental impressions, conclusions, opinions, or legal theories of Defendants,
    Defendants' attomeys, or Defendants' representatives. Defendants also object to this
    interrogatory because it is vague, ambiguous, overly broad, and without reasonable particularity.
    Further, Defendants object to this interrogatory for the reason that it seeks infonnation for which
    inquiry would be unduly burdensome.

    Subject to and without waiving the objection, Defendants state that the Indiana Election Division made
    inquiries to the States of Florida, Michigan, Ohio, Illinois, Kentucky and Kansas by written
    correspondence. Copies of the signed letters to Florida and Michigan are attached. The Indiana
    Election Division has not been able to locate signed copies of the other correspondence.

    In addition, Indiana Election Division staff participated in telephone calls with election officials
    in other states regarding matching Indiana voter registration data with the voter registration data
    of other states.

    At this time, the Indiana Election Division is considering both technical and legal issues involved
    in providing voter registration information to other states for the purpose of identifYing and
    removing registrations of individuals who have moved out of the State ofindiana




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   INTERROGATORY NO.6: Describe all efforts you have made to obtain databases

   maintained by the federal govermnent for the purposes of removing ineligible voters, including

   but not limited to the U.S. Department of Homeland Security's Systematic Alien Verification for

   Entitlements ("SAVE") database and the U.S. Social Security Administration's Social Security

   Death Index ("SSDI") database for the purpose of conducting a program for removing ineligible

   voters from the official lists of eligible voters.



   RESPONSE NO. 6:

   Defendants object to this interrogatory for the reason it seeks information protected from
   disclosure by the deliberative process privilege, the attorney/client privilege, and attorney work
   product doctrine. Defendants object to this interrogatory because it seeks information which
   might disclose the mental impressions, conclusions, opinions, or legal theories of Defendants,
   Defendants' attorneys, or Defendants' representatives. Defendants object to this interrogatory
   because it seeks information which is neither relevant to the claims or defenses or the parties, nor
   is it reasonably calculated to lead to the discovery or admissible evidence. Defendants also
   object to this interrogatory because it is vague, ambiguous, overly broad, and without reasonable
   particularity. Further, Defendants object to this interrogatory for the reason that it seeks
   information for which inquiry would be unduly burdensome.

   Subject to and without waiving the objection, Defendants state that, while the Indiana Election
   Division obtained the U.S. Social Security Administration's Social Security Index for the
   purpose of conducting a program of removing ineligible voters, it has not done so in the time
   period identified in Instruction number 1 for Plaintiffs' First Set oflnterrogatories.


   INTERROGATORY NO.7: Describe all efforts you have made to conduct a program to

   remove names fi·om the voter registration lists based on the State Indiana's records on criminal

   convictions and incarcerations, identifYing each State and County organization with which you

   communicate for this purpose.

   RESPONSE NO.7:

  Defendants object to this interrogatory for the reason it seeks information protected from
  disclosure by the deliberative process privilege, the attorney/client privilege, and attorney work
  product doctrine. Defendants object to this interrogatory because it seeks information which


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    might disclose the mental impressions, conclusions, opinions, or legal theories of Defendants,
    Defendants' attorneys, or Defendants' representatives. Defendants also object to this
    interrogatory because it is vague, ambiguous, overly broad, and without reasonable particularity.
    Further, Defendants object to this interrogatory for the reason that it seeks information for which
    inquiry would be unduly bmdensome.

    Subject to and without waiving the objection, Defendants state that the state designed the SVRS
    system to connect to the state's department of corrections database and notify counties daily
    when a registered voter is sentenced following conviction of a crime. See Standard Operating
    Procedmes VRG 12.1 and 39.1.

    In addition to daily notices from om Department of Correction, Indiana requires all county
    sheriffs to provide quarterly reports to the county voter registration office for all those
    individuals incarcerated in a local facility following conviction. IC 3-7-46-6 The lED provides
    guidance to the county voter registration officials on these quarterly reports. See 2012 Voter
    Registration Manual, page 25.


    INTERROGATORY NO.8: Identify all outside consultants, firms, contractors, agents, or

    other outside parties you have hired to assist with, advise on, or administer in any way, yom

    election administration and voter registration list maintenance responsibilities under Section 8 of

    theNVRA.

    RESPONSE NO. 8:

    Quest Information Systems, 5975 Castle Creek Parkway N. Dr., Suite 200, Indianapolis,
    IN 46250.

    Baker Tilly Virchow Krause, LLP, Baker Tilly Virchow Krause, LLP 205 N Michigan Avenue,
    Chicago, IL 60601-5927


       State Voter Registration and Election Administration Personnel and Communications

    INTERROGATORY NO.9: Identify all persons in yom office who are responsible for

    communicating directly with the County Voter Registration Officers for each purpose described

    in Interrogatories 1 tln·ough 8 above.

    RESPONSE NO. 9:




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   The Indiana Election Division was created by statute according to IC 3-6-4.2 and is lead by two
   Co-Directors, nominated by the two major party state chairman and appointed by the Governor.
   Each Co-Director employs staff. The Indiana Election Division employs Quest Information
   Systems and Baker Tilly Virchow Krause for a variety of purposes, but occasionally to
   communicate directly with a county.

   The following is a list oflndiana Election Division employees of the Democratic Party Co-
   Director who communicate with county voter registration officials as described in Interrogatory
   No.9:
   Trent Deckard, Co-Director, Indiana Election Division (2011-Present)
   Pamela Potesta, Co-Director, Indiana Election Division (2007-2010)
   Kristi Robertson, Co-Director, Indiana Election Division (2006-2007)
   Michelle Brzycki, Special Projects Coordinator, Indiana Election Division (2006-2008, 2011-
   Present)
   Leslie Barnes, Co-Counsel, Indiana Election Division (2007-Present)
   Cody Kendall, Co-Counsel, Indiana Election Division (2006-2007)

   The following is a list oflndiana Election Division employees of the Republican Party Co-
   Director who communicate with county voter registration officials as described in Interrogatory
   No.9:
   J. Bradley King, Co-Director, Indiana Election Division
   Dale Simmons, Co-Counsel, Indiana Election Division
   Lori Clark, Special Projects Coordinator, Indiana Election Division

   Address for all persons currently working for the Indiana Election Division is: 302 West
   Washington Street, #E204, Indianapolis, IN 46204. Addresses for former employees are
   unlmown.


   INTERROGATORY NO. 10: Identify the person or persons with whom you or your office

   communicates within the offices of each Indiana governmental organization, foreign State

   government, United States governmental office, or other entity for the purposes described in

   Interrogatories 3 through 8 above.

   RESPONSE NO. 10:

   Defendants object to this inten·ogatory because it is vague, ambiguous, overly broad, and without
   reasonable particularity.

   Subject to and without waiving the objection, Defendants list the following persons:

   Contact for Department of Correction-Jeanne McFarland, Senior Programmer, IGCS 302 West
   Washington Street, E327, Indianapolis, IN 46204. Jmcfarland@idoc.in.gov 317-232-5400


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  might disclose the mental impressions, conclusions, opinions, or legal theories of Defendants,
  Defendants' attorneys, or Defendants' representatives. Defendants also object to this
  interrogatory because it is vague, ambiguous, overly broad, and without reasonable particularity.
  Further, Defendants object to this interrogatory for the reason that it seeks information for which
  inquiry would be unduly burdensome.

  The Indiana Election Division compiles the information requested by the U.S. Election
  Assistance Commission and, after review of the information, submits the information to the U.S.
  Election Assistance Commission. See Response to Plaintiffs First Request for Production of
  Documents No. II.


   INTERROGATORY NO. 14: Describe the purpose of providing conflicting opinions to

   County Voter Registration Officers at page 21 of the "2012 Indiana Voter Registration

   Guidebook" identified in Defendants' Initial Disclosures concerning removal or non-removal of

  registrations for single voters registered under two different addresses.

   RESPONSE NO. 14:

   Defendants object to this interrogatory for the reason it seeks information protected from
   disclosure by the deliberative process privilege, the attorney/client privilege, and attorney work
   product doctrine. Defendants object to this interrogatory because it seeks information which
   might disclose the mental impressions, conclusions, opinions, or legal theories of Defendants,
   Defendants' attorneys, or Defendants' representatives. Defendants also object to this
   interrogatory because it is vague, ambiguous, overly broad, and without reasonable particularity.

   Subject to and without waiving the objection, Defendants state that the purpose was to indicate the Co-
   Directors have a difference of opinion on an issue. Given the Indiana Supreme Court's decision
   in Sammons v. Conrad, if the Co-Directors are unable to agree on an issue, then the Indiana
   Election Division cannot take official action. 740 N.E.2d 114 (Ind. 2000). Illustrating a
   difference of opinion when it exists permits the local election officials to make an informed
   decision.


   INTERROGATORY NO. 15: Describe the purpose, in the sample jury questionnaire appended

   to the "2012 Indiana Voter Registration Guidebook" identified in Defendants' Initial

   Disclosures, of asking prospective jurors whether they wish to remain registered to vote in a

   county where they have affirmed they do not reside.

   RESPONSE NO. 15:


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